Case 5:02-cr-30020-SGW   Document 1052 Filed 10/30/09   Page 1 of 11   Pageid#:
                                    1825
Case 5:02-cr-30020-SGW   Document 1052 Filed 10/30/09   Page 2 of 11   Pageid#:
                                    1826
Case 5:02-cr-30020-SGW   Document 1052 Filed 10/30/09   Page 3 of 11   Pageid#:
                                    1827
Case 5:02-cr-30020-SGW   Document 1052 Filed 10/30/09   Page 4 of 11   Pageid#:
                                    1828
Case 5:02-cr-30020-SGW   Document 1052 Filed 10/30/09   Page 5 of 11   Pageid#:
                                    1829
Case 5:02-cr-30020-SGW   Document 1052 Filed 10/30/09   Page 6 of 11   Pageid#:
                                    1830
Case 5:02-cr-30020-SGW   Document 1052 Filed 10/30/09   Page 7 of 11   Pageid#:
                                    1831
Case 5:02-cr-30020-SGW   Document 1052 Filed 10/30/09   Page 8 of 11   Pageid#:
                                    1832
Case 5:02-cr-30020-SGW   Document 1052 Filed 10/30/09   Page 9 of 11   Pageid#:
                                    1833
Case 5:02-cr-30020-SGW   Document 1052 Filed 10/30/09   Page 10 of 11
                           Pageid#: 1834
Case 5:02-cr-30020-SGW   Document 1052 Filed 10/30/09   Page 11 of 11
                           Pageid#: 1835
